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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF IDAHO

 GERALD ROSS PIZZUTO, JR.,                  )     CASE NO. 1:23-cv-0081-BLW
                                            )
              Plaintiff,                    )
 v.                                         )     MOTION TO INTERVENE
                                            )
 RAUL LABRADOR, Attorney General,           )
 Idaho Attorney General’s Office, in his    )
 official capacity,                         )
                                            )
              Defendant.                    )
                                            )
                                            )
                                            )
                                            )
                                            )
                                            )

      Pursuant to Fed. Rs. Civ. P. 24(a)(2) and 24(b)(1)(B), and for the reasons set

forth in the accompanying Memorandum, Thomas Eugene Creech seeks to

intervene in the present case. His Complaint-in-Intervention is also attached.

DATED this 14th day of March 2024.


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                                               /s/ Mary E. Spears
                                               Mary E. Spears
                                               Deborah A. Czuba
                                               Federal Defender Services of Idaho




                           CERTIFICATE OF SERVICE

       I hereby certify that on this 14th day of March 2024, I electronically filed the
foregoing document with the Clerk of the Court using the CM/ECF system, which is
designed to send a Notice of Electronic Filing to persons including the following:

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                                               /s/ L. Hollis Ruggieri
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